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                        EXHIBIT 1
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

          GINA CARANO,                        )
                                              ) Case No. 2:24-cv-01009-SPG-SK
                            Plaintiff,        )
                                              ) PLAINTIFF GINA CARANO’S
                     v.                       ) FIRST INTERROGATORIES,
                                              ) REQUESTS FOR
          THE WALT DISNEY COMPANY,
                                              ) PRODUCTION OF
          et al.,
                                              ) DOCUMENTS, AND
                                              ) REQUESTS FOR ADMISSION
                            Defendants.
                                              ) TO DEFENDANTS
                                              )




                                                                                      Exhibit 1
                                                                                              4
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               Plaintiff, Gina Carano, through undersigned counsel, hereby
          requests that Defendants The Walt Disney Company (“Disney”),
          Lucasfilm Ltd. LLC (“Lucasfilm”), and Huckleberry Industries (US) Inc.
          (“Huckleberry”) (collectively, “Defendants”) each answer the following
          interrogatories, produce the requested documents, and answer the
          following requests for admission pursuant to Federal Rules of Civil
          Procedure 26, 33, 34, and 36. All responsive documents and information
          should be delivered to Plaintiff at Schaerr Jaffe, LLP at 1717 K
          Street NW, Suite 900, Washington, DC 20006, etrent@schaerr-jaffe.com,
          within thirty (30) days from service, or by any other means agreed upon
          by the parties.
                                      INSTRUCTIONS
               1.      These interrogatories, requests for production of documents,
          and requests for admission (“Discovery Requests”) are governed by
          Federal Rules of Civil Procedure 26, 33, 34, and 36, as well as any
          applicable Local Rule. Those rules are incorporated herein.
               2.      In responding to these Discovery Requests, Defendants shall
          identify and produce all documents and information within their
          possession, custody or control, wherever located, including documents in
          the possession of attorneys, representatives, agents, or other persons
          acting on Defendants’ behalf.
               3.      Unless stated otherwise, the date range for these requests is
          January 1, 2019, through the present.
               4.      With regard to attorney-client and work-product privilege
          objections to interrogatories, describe the factual basis for your claims of
          privilege,   including   relevant   dates,   persons    involved   in   the
          communication, subject matters involved, all persons present when the




                                                                                         Exhibit 1
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          communications occurred, all persons who have been told about any of
          the details of the communication, and other information that would
          permit the Court to adjudicate the validity of the claim of privilege.
               5.    With regard to attorney-client and work-product privilege
          objections to the production of documents, you are requested to prepare
          an index listing each and every document or portion of document
          withheld, stating the document date, preparer, recipient(s), subject
          matter(s), and basis for your privilege objection.
               6.    To the extent Defendants claim that any requested document
          or portion thereof is protected from release by any privilege or work-
          product immunity, Defendants shall redact the document and release all
          non-privileged portions of any such record or information.
               7.    In responding to each Request for Production, if you do not
          produce a document in whole or in part because you are unable to do so,
          or for any other reason, you are requested to state the name and address
          of each person who you believe has custody, possession, or control of the
          document. If any documents are withheld, not produced, or not searched
          for because of any objections, your response should so state.
               8.    All documents should be produced in the same order as they
          are kept or maintained by you in the ordinary course of business and in
          the manual, booklet, binder, file, folder, envelope, or other container in
          which they are ordinarily kept or maintained. If for any reason the
          container cannot be produced, you shall produce copies of all labels or
          other identifying markings thereon.
               9.    For all documents produced, you should identify the
          particular Request for Production to which each document is responsive.




                                                                                        Exhibit 1
                                                                                                6
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               10.    These Discovery Requests are intended to be a continuing
          obligation upon Defendants to furnish all information and documents
          requested herein until final disposition of this case. Defendants shall
          provide, through supplemental responses, additional documents and/or
          information as Defendants or any persons acting on their behalf may
          hereafter obtain as necessary to correct or update any previous response.
          Any such supplemental response shall be provided to Plaintiff promptly
          after the additional information is discovered, but in any event not later
          than 20 days after such discovery.
                                        DEFINITIONS
               1.     “Complaint” means the Complaint [Doc. 1] that Plaintiff filed
          in the above-captioned civil action, as well as any amended complaint(s)
          that Plaintiff may file in this civil action after the date of these Discovery
          Requests.
               2.     “Communications” means any oral, written, or electronic
          utterance, notation, or statement of any nature whatsoever, including,
          but not limited to, in-person conversations, telephone calls, voice mail
          messages, computer or video calls, emails, text messages, social media
          postings, correspondence, letters, memoranda, internal communication
          messages on systems such as Slack, myDisneyToday, and Disney Rostr,
          pamphlets,    brochures,     conversations,   dialogues,    discussions,   or
          Documents      evidencing,     recounting,    or    recording    any     such
          communication.
               3.     “Document” means any written, recorded, digital, electronic,
          or graphic material of any kind, whether prepared by you or by any other
          person, that is in your possession, custody, or control. The term includes:
          agreements; contracts; letters; inter-office communications; memoranda;




                                                                                           Exhibit 1
                                                                                                   7
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          reports;   records;    instructions;   specifications;    notes;   notebooks;
          scrapbooks;   diaries;    photographs;     photocopies;     charts;   graphs;
          descriptions; drafts, whether or not they resulted in a final document;
          minutes of meetings, conferences, and telephone or other conversations
          or communications; invoices; recordings; published or unpublished
          speeches or articles; publications; transcripts of telephone conversations;
          phone mail; electronic-mail; text messages; electronic communications
          including but not limited to social media and internal communication
          systems such as Slack, myDisneyToday, and Disney Rostr; ledgers;
          financial statements; microfilm; microfiche; tape or disc recordings; and
          computer print-outs.
               4.    “Identify” or “identity” means with respect to:
                     a. Person. When used with reference to a natural person,
                        please state his or her full name, and if known, his or her
                        present home or business address; present home, business,
                        or cellular telephone number; and present or last known
                        position and business affiliation.
                     b. Entity. When used with respect to an entity, such as a
                        partnership, joint venture, trust or corporation, please
                        state the full legal name of such entity, each name under
                        which such entity does or has done business, the entity’s
                        street address, the entity’s telephone number, the identity
                        of the chief operating officer, manager, trustee or other
                        principal representative, and the identity of those persons
                        employed by or otherwise acting for such an entity who are
                        known or are believed to possess the knowledge or




                                                                                           Exhibit 1
                                                                                                   8
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                         information responsive to the interrogatory and for which
                         the entity was identified.
                     c. Facts and Events. When used with respect to facts or
                         events, please describe the event with reasonable
                         particularity, including the persons and documents
                         involved in the facts or events.
               5.    “Person”    means      any    individual,     firm,   proprietorship,
          association, partnership, corporation, joint venture, or any other legal
          entity.
               6.    “Defendant” or “Defendants” means Defendants in the above-
          captioned civil action, The Walt Disney Company, Lucasfilm Ltd. LLC,
          and/or Huckleberry Industries (US) Inc., including subsidiaries and
          entities under their control.
               7.    “Relating to” shall mean in whole or in part evidencing,
          constituting, containing, embodying, reflecting, describing, analyzing,
          identifying,   mentioning,      referring,   stating,    supporting,   proving,
          corroborating, contradicting, disproving, referring directly or indirectly
          to, dealing with, or in any way pertaining to.
               8.    “Carano” or “Plaintiff” refers to Gina Carano, Plaintiff in this
          action.




                                                                                             Exhibit 1
                                                                                                     9
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                                     INTERROGATORIES
               1.      Identify each person who made, approved or was consulted
          (whether or not employed by or affiliated with Defendants or any of them)
          on the decision to terminate Carano from her role as Cara Dune in The
          Mandalorian,        including   who    you     contend    was    the   ultimate
          decisionmaker (i.e., the one who made the final decision). For each, state
          his/her recommendation and the date he/she was consulted or made
          his/her decision.
               RESPONSE:




               2.      Identify each person and entity responsible for drafting,
          editing, commenting on, approving, and/or issuing Lucasfilm’s public
          statement made on or about February 10, 2021: “Gina Carano is not
          currently employed by Lucasfilm and there are no plans for her to be in
          the future. Nevertheless, her social media posts denigrating people based
          on   their   cultural    and    religious    identities   are   abhorrent   and
          unacceptable.” 1 In doing so, please identify the person who you claim was
          the ultimate decisionmaker (i.e., the one who made the final decision) to
          approve the publication of the statement.
               RESPONSE:




               3.      Identify each person or entity who approved, recommended,
          or was consulted (whether or not employed by or affiliated with

          1 Daniel   Holloway, Lucasfilm, UTA Drop ‘Mandalorian’ Star Gina
          Carano Following Offensive Social Media Posts, Variety (Feb. 10, 2021),
          http://tinyurl.com/3ac2rybe.




                                                                                            Exhibit 1
                                                                                                  10
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          Defendants) regarding Defendants’ decision to cancel or not cast Plaintiff
          in the series Rangers of the New Republic (see Complaint ¶¶ 27–28),
          including who you contend was the ultimate decisionmaker for each (i.e.,
          the one who made the final decision).          For each, state his/her
          recommendation and the date he/she was consulted or made his/her
          decision.
               RESPONSE:




               4.     Identify each person or entity who approved, recommended,
          or was consulted (whether or not employed by or affiliated with
          Defendants) regarding Defendants’ decision to not cast Plaintiff in the
          planned Star Wars full-length feature film The Mandalorian & Grogu,2
          including who you contend was the ultimate decisionmaker for each (i.e.,
          the one who made the final decision).          For each, state his/her
          recommendation and the date he/she was consulted or made his/her
          decision.
               RESPONSE:




          2 Brady  Langmann, The Mandalorian & Grogu: Everything We Know
          (Jan. 10, 2024), https://tinyurl.com/3ce6e3pv.




                                                                                       Exhibit 1
                                                                                             11
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               5.    Identify each person who (1) required or requested Carano to
          participate in media training, (2) required or requested her to meet with
          representatives   of   GLAAD     (Gay   &    Lesbian   Alliance   Against
          Discrimination), (3) requested or suggested that she issue a public
          apology/statement or (4) requested or suggested that she participate in a
          Zoom call with Lucasfilm president Kathleen Kennedy and various
          employees who identify as part of the LBGTQ+ community following her
          placement of “boop/bop/beep” in her X/Twitter profile in September 2020.
          (See Complaint ¶¶ 75–77, 81).      For each such person, state which
          decision(s) in which the person was involved and the role the person
          played.
               RESPONSE:




               6.    Identify each person tasked with monitoring Plaintiff’s social
          media accounts, who instructed such person(s) to monitor this social
          media information, and the approximate dates that person was tasked to
          monitor Plaintiff’s social media accounts.
               RESPONSE:




               7.    Identify each person involved with the decision to remove the
          episode of Running Wild with Bear Grylls featuring Carano from the
          show’s scheduled lineup in 2021 and state the role each such person had
          in that decision, including who you contend was the ultimate
          decisionmaker (i.e., the one who made the final decision).
               RESPONSE:




                                                                                      Exhibit 1
                                                                                            12
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               8.   Identify each person tasked with monitoring the hashtags
          #FireGinaCarano, #weloveGinaCarano, #westandwithGinaCarano, or
          similar hashtags or posts related to Plaintiff on social media, who
          instructed such person(s) to monitor this social media information, and
          the approximate dates that person was tasked to monitor the social
          media content.
               RESPONSE:




                                                                                    Exhibit 1
                                                                                          13
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                               REQUESTS FOR PRODUCTION
               1.    All Documents or Communications that support your answer
          to Interrogatory No. 1.
               RESPONSE:




               2.    All Documents or Communications that support your answer
          to Interrogatory No. 2.
               RESPONSE:




               3.    All Documents or Communications that support your answer
          to Interrogatory No. 3.
               RESPONSE:




               4.    All Documents or Communications that support your answer
          to Interrogatory No. 4.
               RESPONSE:




               5.    All Documents or Communications that support your answer
          to Interrogatory No. 5.
               RESPONSE:




                                                                                 Exhibit 1
                                                                                       14
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               6.    All Documents or Communications that support your answer
          to Interrogatory No. 6.
               RESPONSE:




               7.    All Documents or Communications that support your answer
          to Interrogatory No. 7.
               RESPONSE:




               8.    All Documents or Communications that support your answer
          to Interrogatory No. 8.
               RESPONSE:




               9.    All Documents and Communications related to your decision
          to terminate or disassociate from Gina Carano, including but limited to
          all Documents and Communications setting out the reasons for that
          decision, the individuals involved or consulted in the decision, and when
          the decision was first considered and ultimately made.
               RESPONSE:




                                                                                      Exhibit 1
                                                                                            15
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               10.   All posts on any Defendant-controlled social media account or
          internal communication platform regarding Plaintiff, including but not
          limited to her performance in The Mandalorian, her social media posts,
          and/or her termination.
               RESPONSE:




               11.   All Communications with X/Twitter, Instagram, or any social
          media platform relating to Plaintiff. This request for production does not
          seek social media posts by Defendants through any company social media
          account, but rather Communications with employees of any social media
          companies related to Plaintiff, including but not limited to any posts by
          Plaintiff on those social media platforms, her termination from The
          Mandalorian, or Defendants’ February 10, 2021 statement regarding
          Plaintiff’s termination (see Complaint ¶¶ 30–32).
               RESPONSE:




               12.   All Communications with Plaintiff’s publicist, ID PR,
          concerning or related to any social media posts or public comments of
          Plaintiff. This includes but is not limited to Plaintiff’s termination and
          the topics addressed in Interrogatory No. 5. Your response should include
          any Documents or other material provided with such Communications.
               RESPONSE:




                                                                                       Exhibit 1
                                                                                             16
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               13.   All Communications with Plaintiff’s publicist, ID PR,
          concerning or related to Defendants’ decision to terminate Plaintiff from
          The Mandalorian and/or future projects. Your response should include
          any Documents or other material provided with such Communications.
               RESPONSE:




               14.   All Communications with United Talent Agency concerning
          or related to any social media posts or public comments by or about
          Plaintiff. This includes but is not limited to Plaintiff’s termination and
          the topics addressed in Interrogatory No. 5.      Your response should
          include any Documents or other material provided with such
          Communications.
               RESPONSE:




               15.   All Communications with United Talent Agency concerning
          or related to Defendants’ decision to terminate Plaintiff from The
          Mandalorian and/or future projects. Your response should include any
          Documents or other material provided with such Communications.
               RESPONSE:




                                                                                       Exhibit 1
                                                                                             17
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               16.   All Communications with any manager or agent representing
          Carano concerning or related to Plaintiff’s social media posts or public
          comments. This includes but is not limited to Plaintiff’s termination and
          the topics addressed in Interrogatory No. 5.      Your response should
          include any Documents or other material provided with your
          Communications.
               RESPONSE:




               17.   All Communications with any manager, agent, or attorney
          representing Plaintiff, concerning or related to Defendants’ decision to
          terminate Plaintiff from The Mandalorian and/or future projects. Your
          response should include any Documents or other material provided with
          such Communications.
               RESPONSE:




               18.   All Communications with any television, movie, or streaming
          content producer regarding Plaintiff. Your response should include any
          Documents or other material provided with your Communications.
               RESPONSE:




                                                                                      Exhibit 1
                                                                                            18
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               19.   All Documents or Communications concerning or related to
          any social media posts or public comments of Pedro Pascal, Mark Hamill,
          or any member of The Mandalorian cast or crew besides Plaintiff.
               RESPONSE:




               20.   All Documents or Communications, including internal
          communications, concerning or related to any discipline of Pedro Pascal,
          Mark Hamill, or any other member of The Mandalorian cast or crew due
          to their social media posts or public comments, including but not limited
          to those cited in the Complaint ¶¶ 129–143.
               RESPONSE:




               21.   All Documents or Communications concerning or related to
          the drafting and issuance of Lucasfilm’s public statement on or about
          February 10, 2021: “Gina Carano is not currently employed by Lucasfilm
          and there are no plans for her to be in the future. Nevertheless, her social
          media posts denigrating people based on their cultural and religious
          identities are abhorrent and unacceptable.” 3 This should include all
          drafts, edits, and communications related to the statement.
               RESPONSE:




          3 Daniel   Holloway, Lucasfilm, UTA Drop ‘Mandalorian’ Star Gina
          Carano Following Offensive Social Media Posts, Variety (Feb. 10, 2021),
          http://tinyurl.com/3ac2rybe.




                                                                                         Exhibit 1
                                                                                               19
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               22.   All Documents or Communications supporting, concerning or
          related to Disney’s then-CEO Bob Chapek’s statement that Plaintiff
          and/or her statements “didn’t align with Company values.”           (See
          Complaint ¶ 34.)
               RESPONSE:




               23.   All Documents or Communications that support Disney’s
          then-CEO Bob Chapek’s statement that Disney’s values are “values that
          are universal: values of respect, values of decency, values of integrity,
          and values of inclusion.”4
               RESPONSE:




               24.   All Documents concerning or related to Defendants’ social
          media policies for employees, including all Communications with
          employees regarding such policies.
               RESPONSE:




          4 Naledi Ushe, Disney CEO Says Company Stands for ‘Values That Are

          Universal’ in Wake of Gina Carano’s Firing, People Mag. (Mar. 9, 2021),
          http://tinyurl.com/mvkz39pe.




                                                                                      Exhibit 1
                                                                                            20
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               25.   All Documents or Communications concerning or related to
          Defendants’ diversity, equity, and inclusion programs and policies,
          including all Communications with employees regarding such programs
          and policies.
               RESPONSE:




               26.   All Documents related to or Communications with the 501st
          Legion, https://www.501st.com/, an international costuming organization
          celebrating Star Wars, concerning any interaction with Plaintiff at any
          conference, convention, event or FanFest at which Plaintiff was to be
          present.
               RESPONSE:




               27.   All Communications with X/Twitter, Instagram, or any social
          media platform that concerned or related to any post by Plaintiff,
          including but not limited to any request that any post or material posted
          by Plaintiff be removed from the social media platform. Your response
          should include any Documents or other material provided with your
          Communications.
               RESPONSE:




                                                                                      Exhibit 1
                                                                                            21
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               28.   All Documents or Communications regarding the use of “bots”
          or electronically generated or managed social media accounts to publish
          any material on social media related to or concerning Plaintiff.
               RESPONSE:




               29.   All Documents or Communications concerning or related to
          plans for the inclusion of the Cara Dune character in any movie or project
          under consideration from 2019 to the present.
               RESPONSE:




               30.   All Documents or Communications concerning or related to
          the decision to create a new Star Wars spinoff entitled Rangers of the
          New Republic or some similar title that would feature or include the
          character Cara Dune (see Complaint ¶¶ 27–28).
               RESPONSE:




               31.   All contracts and Documents showing all compensation
          provided to lead actors on The Mandalorian or similar Star Wars series
          on Disney+, including but not limited to contracts for Pedro Pascal, Carl
          Weathers, Amandla Stenberg (from The Acolyte), Diego Luna (from
          Andor) and Rosario Dawson (from Ahsoka).
               RESPONSE:




                                                                                       Exhibit 1
                                                                                             22
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               32.   All Documents or Communications concerning or related to
          the decision to cancel or not produce Rangers of the New Republic or any
          production with a similar title (see Complaint ¶ 113).
               RESPONSE:




               33.   All Documents or Communications concerning or related to
          the decision to remove the episode of Running Wild with Bear Grylls
          featuring Plaintiff from the show’s scheduled lineup in 2021.
               RESPONSE:




               34.   All Documents or Communications concerning or related to
          the decision to ultimately air the episode of Running Wild with Bear
          Grylls featuring Plaintiff, including any record of any communications
          with Bear Grylls related to the airing of the episode in 2021.
               RESPONSE:




               35.   All Documents or Communications concerning or related to
          the decision to remove all mention of Plaintiff’s name or likeness in any
          promotional material or listings of the episode of Running Wild with Bear
          Grylls featuring Plaintiff.5
               RESPONSE:



          5 Drunk3PO, Disney Refuses to Use Gina Carano’s Name in Bear Grylls

          Running        Wild    Episode,      YouTube       (May       5,    2021),
          http://tinyurl.com/2aca7pck.




                                                                                        Exhibit 1
                                                                                              23
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                36.    All Documents or Communications concerning or related to
          Defendants’       monitoring     the     hashtags       #FireGinaCarano,
          #weloveGinaCarano, #westandwithGinaCarano, or other hashtags
          concerning Plaintiff on social media, including all posts collected, saved,
          or retained from monitoring the hashtags.
                RESPONSE:




                37.    All Documents or Communications collected, saved, or
          retained from any monitoring of social media content related to or posted
          by Plaintiff.
                RESPONSE:




                38.    All Documents or Communications concerning or related to
          the decision to prepare a report on Carano following the events of
          January 6, 2021, as stated in the email sent by Lynne Hale of Lucasfilm
          on January 8, 2021, including a copy of any such report, along with any
          drafts, edits and notes used to create any such report (see Complaint
          ¶¶ 95–97).
                RESPONSE:




                                                                                        Exhibit 1
                                                                                              24
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               39.   All Documents or Communications concerning or related to
          the GoFundMe page “Trans Rights are Human Rights: This is the Way”
          found at https://www.gofundme.com/f/trans-rights-are-human-rights-
          this-is-the-way.
               RESPONSE:




               40.   All Documents or Communications concerning or related to
          Plaintiff’s placing “boop/bop/beep” in her X/Twitter profile on or about
          September 12, 2020 (see Complaint ¶ 65).
               RESPONSE:




               41.   All Documents or Communications concerning or related to
          media training Plaintiff was required or requested to attend in
          September 2020 (see Complaint ¶¶ 75–77, 81, 84).
               RESPONSE:




               42.   All Documents related to any other employee required or
          requested to attend media or any human resources training based in
          whole or part on posts the employee made on social media, including but
          not limited to Pedro Pascal, Mark Hamill, and James Gunn.
               RESPONSE:




                                                                                     Exhibit 1
                                                                                           25
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                 43.   All Documents or Communications related to the requirement
          or request that Plaintiff meet with members of GLAAD in September
          2020 following the listing of “boop/bop/beep” in her X/Twitter profile (see
          Complaint ¶¶ 76).
                 RESPONSE:




                 44.   All Documents or Communications related to any other
          employee required or requested to meet with members of GLAAD or any
          other social advocacy organization because of posts the employee made
          on social media, including but not limited to Pedro Pascal, Mark Hamill,
          and James Gunn.
                 RESPONSE:




                 45.   All Documents or Communications related to the request that
          Plaintiff issue a public statement or apology for listing “boop/bop/beep” in
          her X/Twitter profile header in September 2020 (see Complaint ¶¶ 77–
          78).
                 RESPONSE:




                                                                                         Exhibit 1
                                                                                               26
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               46.    All Documents or Communications related to any other
          employee required or requested to issue a public statement or apology
          because of posts the employee made on social media, including but not
          limited to Pedro Pascal, Mark Hamill, and James Gunn.
               RESPONSE:




               47.    All Documents or Communications related to the request for
          Plaintiff to meet by Zoom with Kathleen Kennedy and employees of
          Lucasfilm who identify with the LGBTQ+ community in September 2020
          (see Complaint ¶ 81).
               RESPONSE:




               48.    All Documents or Communications related to any other
          employee required or requested to participate in a meeting with a
          supervisor and other employees because of posts the employee made on
          social media, including but not limited to Pedro Pascal, Mark Hamill, and
          James Gunn.
               RESPONSE:




               49.    All Documents or Communications related to the promotion
          of Plaintiff for an Emmy for her work on The Mandalorian in or about
          May 2021.
               RESPONSE:




                                                                                      Exhibit 1
                                                                                            27
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                                    ID #:576




               50.   All Documents or Communications with toy companies,
          merchandizers, or creators of digital or print collateral or advertising for
          The Mandalorian concerning or related to Plaintiff or her character Cara
          Dune.
               RESPONSE:




               51.   All Documents showing hours worked on set for each actor in
          Seasons 1 and 2 of The Mandalorian.
               RESPONSE:




               52.   All Documents showing compensation for each actor in
          Seasons 1 and 2 of The Mandalorian.
               RESPONSE:




               53.   All Documents or Communications evidencing or related to
          any complaint of harassment, sexual harassment, or discrimination
          made by or against any member of the cast or crew (including producers,
          directors, or anyone involved in the production of the show) during
          Seasons 1 and 2 of The Mandalorian.
               RESPONSE:




                                                                                         Exhibit 1
                                                                                               28
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                                   ID #:577




               54.   All Documents related to Plaintiff’s employment with
          Defendants or her role in The Mandalorian or any other production of
          Defendants, including any personnel file, record of compensation,
          benefits, performance evaluations, commendations, or other material
          related to any work she performed for Defendants.
               RESPONSE:




               55.   All Documents showing any person or entity to whom
          Defendants   disseminated    their   statement   related   to   Plaintiff’s
          termination: “Gina Carano is not currently employed by Lucasfilm and
          there are no plans for her to be in the future. Nevertheless, her social
          media posts denigrating people based on their cultural and religious
          identities are abhorrent and unacceptable.” 6    Your response should
          include all postings of the statement on any social media account
          controlled by Defendants and any Communications with YouTube
          personalities, podcasts, website operators, fan forums, news/press
          organizations, talent agencies, public relations firms or other third
          parties (such as Pablo Hildago, Joe Organa, or fans of Star Wars).
               RESPONSE:




          6 Daniel Holloway, Lucasfilm, UTA Drop ‘Mandalorian’ Star Gina
          Carano Following Offensive Social Media Posts, VARIETY (Feb. 10,
          2021), http://tinyurl.com/3ac2rybe.




                                                                                        Exhibit 1
                                                                                              29
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                                   ID #:578




               56.   All Communications with any persons or entities, including
          YouTube personalities, podcasts, website operators, fan forums,
          news/press organizations, talent agencies, advertising developers, social
          media companies, public relations firms or other third parties (such as
          Pablo Hildago, Joe Organa, or fans of Star Wars) regarding Plaintiff,
          including but not limited to her social media posts and/or her termination
          from The Mandalorian.
               RESPONSE:




               57.   All Communications with any persons or entities, including
          YouTube personalities, podcasts, website operators, fan forums,
          news/press organizations, talent agencies, advertising developers, social
          media companies, public relations firms or other third parties (such as
          Pablo Hildago, Joe Organa, or fans of Star Wars) regarding removing
          information or displays of Plaintiff or her likeness from any promotions
          (including any advertisements) of Disney+, Star Wars, or The
          Mandalorian.
               RESPONSE:




                                                                                       Exhibit 1
                                                                                             30
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                                     ID #:579




               58.     All Documents showing all political contributions made by
          Defendants, their officers, directors and employees, whether to
          individual     candidates,   political   action    committees,   or   political
          organizations such as the Democratic Party, Republican Party, ActBlue,
          or any other organization, to support political candidates or causes,
          showing to whom the donation was made, the amount, and the date of
          the donation.
               RESPONSE:




               59.     All Documents related to the hiring of any publicist,
          communications       firm,    or    outside       organization   to   monitor
          communications, posts, or comments made on the internet (including
          websites) or social media regarding or related to Gina Carano, including
          but not limited to the use of algorithms to monitor, control, or influence
          what is posted or shows up in internet searches related to Gina Carano
          and/or her character Cara Dune, including contracts for services,
          communications with any such organization regarding any such
          monitoring or activity, and any requests or efforts to influence the
          content of information available or related to Gina Carano.
               RESPONSE:




               60.     All Documents listed in Defendants’ Rule 26(a) Initial
          Disclosures.
               RESPONSE:




                                                                                            Exhibit 1
                                                                                                  31
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                             REQUESTS FOR ADMISSION
               1.    Admit that Defendants authorized the publishing or
          dissemination of the following statement: “Gina Carano is not currently
          employed by Lucasfilm and there are no plans for her to be in the future.
          Nevertheless, her social media posts denigrating people based on their
          cultural and religious identities are abhorrent and unacceptable.” 7
               RESPONSE:




               2.    Admit that Defendants did not terminate or disassociate from
          Pedro Pascal for any of his social media posts.
               RESPONSE:




               3.    Admit that Defendants did not terminate or disassociate from
          Mark Hamill for any of his social media posts.
               RESPONSE:




               4.    Admit that Defendants did not terminate or disassociate from
          Carl Weather for any of his social media posts.
               RESPONSE:




          7 Daniel   Holloway, Lucasfilm, UTA Drop ‘Mandalorian’ Star Gina
          Carano Following Offensive Social Media Posts, Variety (Feb. 10, 2021),
          http://tinyurl.com/3ac2rybe.




                                                                                      Exhibit 1
                                                                                            32
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                                   ID #:581




               5.    Admit that Carl Weathers’ social media posts listed in
          paragraph 106 of the Complaint do not align with Defendants’ values as
          identified by Bob Chapek in his statement set out in paragraph 34 of the
          Complaint.
               RESPONSE:




               6.    Admit that each of Pedro Paschal’s social media posts listed
          in paragraphs 131, 133, 134, and 136 of the Complaint do not align with
          Defendants’ values as identified by Bob Chapek in his statement set out
          in paragraph 34 of the Complaint.
               RESPONSE:




               7.    Admit that each of Mark Hamill’s social media post listed in
          paragraphs 138, 139, and 140 of the Complaint does not align with
          Defendants’ values as identified by Bob Chapek in his statement set out
          in paragraph 34 of the Complaint.
               RESPONSE:




               8.    Admit that James Gunn’s social media posts listed in
          paragraph 144 of the Complaint do not align with Defendants’ values as
          identified by Bob Chapek in his statement set out in paragraph 34 of the
          Complaint.
               RESPONSE:




                                                                                     Exhibit 1
                                                                                           33
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                                             Respectfully submitted,

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                                             *Admitted pro hac vice

                                             Counsel for Plaintiff
          Dated: July 30, 2024




                                                                                Exhibit 1
                                                                                      34
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                              CERTIFICATE OF SERVICE
               I certify that a copy of the forgoing was served on counsel for
          Defendants via email this 30th day of July, 2024.


                                Daniel Petrocelli
                                Molly Lens
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                                O’Melveny & Myers LLP
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                                                /s/ Gene C. Schaerr
                                                Gene C. Schaerr




                                                                                   Exhibit 1
                                                                                         35
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          STATE OF CALIFORNIA )
          COUNTY OF ____________)




          I, ___________________, being first duly sworn, make oath and state that
          the facts as set forth in the foregoing Answers to Interrogatories are true
          and correct to the best of my knowledge, information and belief. Any
          information contained herein not personally known by me I believe to be
          true.




                                                _________________________________
                                                [name and title]


          Sworn and subscribed to before me,
          this the ___ day of ________, 2024.




          Notary Public


          My Commission Expires:




                                                                                        Exhibit 1
                                                                                              36
